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DENISE CROS-TOURE (01)
MOHAMED TOURE (02)

INDICTMENT
The Grand Jury Charges:

Introduction

At all times relevant to this Indictment,

l. Defendants Denise Cros-Toure and Mo'hamed Toure were citizens of
Guinea, West Africa, and resided in Southlake, Texas. The defendants were husband and
wife and had live biological children born between 1991 and 2002.

2. D.D., whose identity is known to the Grand Jury, was a citizen of Guinea.
D.D.’s Guinean passport listed her birth year as 1994.

3. On December 22, 1999, the U.S. Government issued D.D. a B-Z Non-
Immigrant Visa (NIV), which expired on March 21, 2000. D.D.’s Guinean passport, to
which the B-Z NIV was afflxed, expired on May l7, 2003.

4. A B-Z NIV, commonly known as a “tourist visa,” permits individuals to
enter the United States temporarily for purposes of pleasure, tourism, or medical

treatment Individuals who enter the United States on B-Z NIVs are not permitted to work

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while in the United States. An individual who remains in the United States past the
expiration of his or her B-Z NIV remains in the United States in violation of law.
5. Paragraphs one through four of the Introduction are fully incorporated in

the Counts below.

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M§
Conspiracy to Commit Forced Labor
(Violation of 18 U.S.C. §§ 1594(b) and 1589)

1. Between in or about January 2000 and continuing through in or about August
2016, all dates being approximate and inclusive, in the Fort Worth Division of the Northern
District of Texas and elsewhere, defendants Denise Cros-Toure and Mohamed Toure,
did knowingly and willfully combine, confederate, conspire and agree with each other and
others known and unknown to the grand jury to provide and obtain the labor and services
of D.D. by: (a) threats of serious harm to D.D.; (b) means of a scheme, plan, and pattern
intended to cause D.D. to believe that, if D.D. did not perform such labor or services, that
D.D. would suffer serious harm; and (c) means of the abuse and threatened abuse of law
and the legal process, in violation 18 U.S.C. § 1589.

Obiect of the Conspiracy

2. The object of the conspiracy was for defendants Denise Cros-Toure and
Mohamed Toure, and others known and unknown to the grand jury, to obtain the
uncompensated labor and services of D.D. at the defendants’ home in Southlake, Texas.

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3. In furtherance of the conspiracy, and to accomplish the obj ectof the
conspiracy, at least one of the defendants committed or caused to be committed at least
one of the following overt acts, among ,others, in the Fort Worth Division of the Northern
District of Texas, and elsewhere:

a. In or about December 1999 through in or about January 2000,

Defendants Denise Cros-Toure and Mohamed Toure, together with others known and
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unknown to the grand jury, arranged for D.D. to obtain a B-2 NIV and travel alone from
Guinea to the United States for the purpose of providing childcare and performing other
domestic services for the defendants. l 9

b. On or about January 19, 2000, defendant Mohamed Toure picked
up D.D. at Dallas/Forth Worth International Airport and transported her to the
defendants’ residence in Southlake, Texas, where D.D. resided until in or about August
2016.

c. In or about January 2000, defendants Denise Cros-Toure and
Mohamed Toure took possession of D.D.’s Guinean passport and B-Z Non-Immigrant
Visa upon her arrival in the United States, and maintained possession of those documents
until in or about August 2016.

d. Throughout the time that D.D. resided with defendants Denise Cros-
Toure and Mohamed Toure, the defendants caused D.D. to remain in the United States
past the expiration of her B-Z NIV and her Guinean passport in violation of law.

e. Throughout the time that D.D. resided with defendants Denise Cros-
Toure and Mohamed Toure, the defendants required D.D. to work extensive hours
providing childcare and performing other domestic services for the defendants.

f. Throughout the time that D.D. resided with defendants Denise Cros-
Toure and Mohamed Toure,'the defendants did not pay D.D. any wages for her labor
and services and caused D.D. to become dependent upon them for necessities, which they

did not always provide.

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g. Throughout the time that D.D. resided with defendants Denise Cros-
Toure and Mohamed Toure, the defendants denied D.D. any educational opportunities,
and they denied D.D. access to medical care, among other things they afforded to their
own biological children.

h. Throughout the time that D.D. resided with defendants Denise Cros-
Toure and Mohamed Toure, the defendants restricted D.D.’s contact with her family in
Guinea and with others in the United States and otherwise sought to isolate D.D.

i. Throughout the time that D.D. resided with defendants Denise Cros-
Toure and Mohamed Toure, the defendants used force top punish D.D. For example, on
different occasions, defendant Denise Cros-Toure ripped out D.D.’s earring, slapped
D.D., struck D.D. with a belt, and struck D.D. with an electrical cord. On another
occasion, defendant Mohamed Toure restrained D.D. while defendant Denise Cros-
Toure struck her.

j. Throughout the time that D.D. resided with defendants Denise Cros-
Toure and Mohamed Toure, the defendants banished D.D. from their residence to
punish D.D. and engaged in other emotional and psychological abuse.

k. Throughout the time that D.D. resided with defendants Denise Cros-
Toure and Mohamed Toure, the defendants threatened D.D. with immigration
consequences to punish her.

In violation of 18 U.S.C. §§ 1594(b) and 1589.

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Count Two
Forced Labor
(Violation of 18 U.S.C. §§ 1589, 1594(a) and 2)

1. Paragraphs one through four of the Introduction and the allegations set
forth in paragraphs one through three of Count One of this Indictment are incorporated by
reference here.

2. Beginning in or about January 2000 and continuing through in or about
August 2016, all dates being approximate and inclusive, in the Fort Worth Division of the
Northern District of Texas, and elsewhere, defendants Denise Cros-Toure and
Mohamed Toure, aiding and abetting each other, did knowingly provide and obtain the
labor and services of D.D. by: (a) threats of serious harm to D.D.; (b) means of a scheme,
plan, and pattern intended to cause D.D. to believe that, if D.D. did not perform such
labor or services, that D.D. would suffer serious harm; and (c) means of the abuse and

threatened abuse of law and the legal process; and attempted to do so.

In violation of 18 U.S.C. §§ 1589, 1594(a) and 2.

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Count Three
Conspiracy to Harbor an Alien for Financial Gain
(Violation of 8 U.S.C. §§ 1324(a)(1)(A)(v)(I) and 1324(a)(1)(B)(i))

1. Paragraphs one through four of the Introduction and the allegations set
forth in paragraphs one through three of Count One of this Indictment are incorporated by
reference here.

2. Beginning in or about January 2000 and continuing through in or about
August 2016, all dates being approximate and inclusive, in the Fort Worth Division of the
Northern District of Texas, and elsewhere, defendants Denise Cros-Toure and
Mohamed Toure, did knowingly and willfully combine, confederate, conspire and agree
with each other and others known and unknown to the grand jury to conceal, harbor, and
shield D.D. from detection in their residence for the purpose of private financial gain,
knowing and in reckless disregard of the fact that D.D., an alien, had come to, entered,

and remained in the United States.

In violation Of 8 U.s.C. §§ 1324(a)(1)(A)(v)(1) and 1324(3)(1)(13)(0.

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Harboring an Alien for Financial Gain
(Violation of 8 U.S.C. §§ 1324(a)(1)(A)(iii); 1324(a)(1)(A)(v)(II) and 1324(a)(1)(B)(i))

1. Paragraphs one through four of the Introduction and the allegations set
forth in paragraphs one through three of Count One of this Indictment are incorporated by
reference here.

2. Beginning in or about January 2000 and continuing through in or about
August 2016, all dates being approximate and inclusive, in the Fort Worth Division of the
Northern District of Texas, and elsewhere, defendants Denise Cros-Toure and
Mohamed Toure, aiding and abetting each other, did conceal, harbor, and shield D.D.
from detection in their residence for the purpose of private financial gain, knowing and in
reckless disregard of the fact that D.D., an alien, had come to, entered, and remained in

the United States in violation of law; and attempted to do so.

In violation of 8 U.S.C. §§ 1324(a)(1)(A)(iii); l324(a)(1)(A)(v)(II) and

1324(3)(1)(13)(1).

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Count Five
False Statements
(Violation of 18 U.S.C. § 1001(a)(2))

On or about April 28, 2017, in the Fort Worth Division of the Northern District of _
Texas, defendant Mohamed Toure did knowingly and willfully make a materially false,
fictitious, and fraudulent statement and representation within the jurisdiction of the
executive branch of the United States, to wit: the defendant made the following false
statements and representations to Diplomatic Security Service Special Agents during the
course of a criminal investigation:

(1) the defendant stated that he had attempted to adopt D.D.; and

(2) the defendant stated that his attorney, Person A, had informed him that it was

impossible for him to adopt D.D.
when in truth and fact, as the defendant then knew, the defendant did not attempt to adopt

D.D. and the defendant did not ask Person A about adopting D.D.

In violation of 18 U.S.C. § l()()l(a)(?.).

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Forfeiture Notice
Pursuant to 18U.S.C. §§ 982(a)(6), 1594(b); 8 U.S.C. § 1324(b)(1); and
28 U.S.C. § 2461
As the result of committing the offenses alleged in counts One through Four of
this Indictment, the defendants Denise Cros-Toure and Mohamed Toure, shall

forfeit to the United States:

1. any property constituting, or derived from, and proceeds the
defendant obtained, directly or indirectly, as the result of such
violation; and

2. any of the defendant's property used, or intended to be used, in any
manner or part, to commit, or to facilitate the commission of, such
violation, including but not limited to the following:

a. The real property located at 705 Briarridge Road, Southlake, Texas,
together with all improvements, buildings, structures and
appurtenances, and legally described as follows:

LOT 18, IN BLOCK 3, OF OAK HILLS ESTATES, AN
ADDITION TO THE CITY OF SOUTHLAKE,TARRANT
COUNTY, TEXAS, ACCORDING TO THE MAP OR PLAT
THEREOF RECORDED IN CABINET A, PAGE 683, OF THE
PLAT RECORDS OF TARRANT COUNTY, TEXAS.
Substitute Assets
If any of the property described above as being subject to forfeiture, as aresult

of any act or omission of the defendant -

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with a third person;
(c) has been placed beyond the jurisdiction of the court;

(d) has been substantially diminished in value; or

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(e) has been commingled with other property which cannot be
subdivided without difficulty.

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), to seek forfeiture
of any other property of the defendants up to the value of the above forfeitable
property, including but not limited to all property, both real and personal owned by
the defendants

By virtue of the commission of the offenses alleged in this Indictment, any and
all interest the defendants have in the above-described property is vested in and

forfeited to the United States.

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Pursuant to 8 U.s.C. § 1324(b), and 18 U.s.c. §1594(d).

A E BILL.

     
   

FOREPERS GN

  

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UNITED STATES ATTORNEY

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IN THE UNITED STATES DISTRICT COURT
’ FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

THE UNITED STATES OF AMERICA
v.

DENISE CRos-ToURE (01)
MoHAMED ToURE (02)

 

INDICTMENT

18 U.S.C. §§ 1594(b) and 1589
Conspiracy to Commit Forced Labor

Count 1

18 U.S.C. §§ 1589, 1594(a) and 2
Forced Labor
Count 2

8 U.S.C. §§ 1324(a)(1)(A)(v)(1) and 1324(a)(1)(B)(i)
Conspiracy to Harbor an Alien for Financial Gain
Count 3

8 U.S.C. §§ 1324(a)(1)(A)(iii) and 1324(a)(1)(B)(i)
Harboring an Alien for Financial Gain
Count 4

18 U.S.C. § 1001(a)(2)
False Statements
Count 5

18 U.S.C. §§ 982(a)(6), 1594(b); 8 U.S.C. § 1324(b)(1);
and 28 U.S.C. § 2461
Forfeiture Notice

A true bill rendered // .
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FoRT woRTH /’ ' " FoREPER

Filed in open court this 19th day of September, 2018.

Defendants on pretrial release. m

 

 

 

 

 

 

UNITED STATE§}M%AGISTRATE JUDGE
Magistrate Court'N mber: 4:18-MJ-268-BJ

 

